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       U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                       ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good
standing of this Court’s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.

John Velez,                                                              Case Number:          18CV8144
v.
City of Chicago, et al


AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
Michael Bocardo, Michael Dyra, John A. Cruz, Sam Cirone, Patrick O’Donovan, Kriston
Kato, Bradul A. Ortiz, Michael J. Walsh, Victor M. Perez, D. Wolverton, J. Botwinski, A.
Jaglowski, D. Walsh and John Farrell,

NAME (Type or print)
Steven B. Borkan
SIGNATURE (Use electronic signature if the appearance form is filed electronically)
           s/ Steven B. Borkan
FIRM
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ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE?                          YES   x         NO


ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE?                         YES   G         NO   x

ARE YOU A MEMBER OF THIS COURT’S TRIAL BAR?                           YES X NO


IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY?                       YES   x    NO   G
IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.

RETAINED COUNSEL G                 APPOINTED COUNSEL G
